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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )     Case No.:     4:16 CR 481 RLW (PLC)
                                                  )
DANIEL STIMMEL,                                   )
                                                  )
                                                  )
       Defendant.                                 )


               SECOND MOTION TO CONTINUE SENTENCING HEARING

       COMES NOW Defendant, Daniel Stimmel, by and through attorney Jason Korner to

request a continuance from the November 28, 2017 Sentencing Hearing scheduled in this case.

Defendant states the following in support of this motion:

       1. Defendant is currently scheduled for a sentencing on November 28, 2017.

       2. Defense counsel was in two separate jury trials in federal court that occupied defense

counsel for the majority of September and October.

       3. Due to the time taken by those jury trials, Defendant and defense counsel need

additional time to prepare for the sentencing hearing in this case, especially considering many

issues were not stipulated to in the plea agreement in this matter.

       4. The Government, through Assistant United States Attorney Tom Albus, consents to

this motion.

       5. This motion is not being made for the purpose of unnecessary delay.

       6. Defense counsel has a trial in federal court in the Western District of Missouri on

January 8, 2018, which is expected to last four days.

       WHEREFORE, Defendant requests this Honorable Court continue the Sentencing
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Hearing in this case until January 15, 2018 or thereafter, and for all other orders the Court may

deem appropriate under the circumstances.



                                              Respectfully submitted,

                                              THE LAW OFFICE OF JASON A. KORNER

                                              /s/ Jason A. Korner___________
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                                              Attorney for Defendant




                                           Certificate of Service

       The undersigned hereby certifies that on this 6th day of November, 2017, a true and

accurate copy of the foregoing was served on all parties of record via the Court's electronic filing

system.

                                              /s/ Jason A. Korner___________
